       Case
        Case 2:21-cv-00564-CMR
                   2:21-cv-00564-CMR Document  Document 13
                                                        14 Filed
                                                           Filed 11/09/22
                                                                 12/01/22 PagelD.98
                                                                          PageID.100 Page
                                                                                       Page1 1ofof2 3
                                                                                      FILED
                                                                               2022 DEC 1 AM 10:39
                                                                                     CLERK
AO 440 (Rev. 06/ l2) Summons in a Civil Action
                                                                               U.S. DISTRICT COURT

                                       UNITED STATES DISTRICT COURT
                                                                for the
                                                DISTRICT OF UTAH, CENTRAL [:)

                             AMBOH,                               )
                                                                  )
                                                                  )
                                                                  )
                             Plaintijf(s)                         )
                                                                  )
                                 V.                                       Civil Action No. 2:21-cv-00564-CMR
                                                                  )
                     DUCHESNE COUNTY, te al,                      )
                                                                  )
                                                                  )
                                                                  )
                            Defendant(s)                          )

                                                 SUMMONS IN A CIVIl., ACTION

To: (Defendant's name and address) 8th District Court Duchesne County
                                   21554 West 9000 South
                                   21554 W 9000 S
                                   Duchesne, Utah 84021




            A lawsuit h as been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                Tara J. Amboh
                                       Uinta Band Utah Indian
                                       Post Office Box 155
                                       Neola, Utah 84053



            If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
Y ou also must file your answer or motion with the court.

                                                                                Gary P. Serdar

                                                                            ,CLERK OF COURT

            ",,   ' \ .I
Date:   /     ', · "
                                                                                      Signatur( of<ilerk or Deputy Q erk
             Case 2:21-cv-00564-CMR Document 14 Filed 12/01/22 PageID.101 Page 2 of 3
                                                        AFFIDAVIT OF SERVICE

 Case:                    Court:                                      County:                                Job:
 Civil Action No. 2:21-   UNITED STATES DISTRICT COURT for the        DUCHESNE                               8024652
 cv-00564-CMR             DISTRICT OF UTAH, CENTRAL
 Plaintiff/ Petitioner:                                               Defendant I Respondent:
 AMBOH,                                                               DUCHESNE COUNTY, TE AL,

 Received by:                                                          For:
 NIGHT HAWK PROCESS SERVICE & INVESTIGATIONS                           UINTA BAND UTAH INDIAN
 To be served upon:
 8TH DISTRICT COURT DUCHESNE COUNTY,

I, CLIFF GRIFFIS, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said
person of the contents herein

Recipient Name/ Address:      8th DISTRICT COURT DUCHESNE COUNTY, 21554 WEST 9000 SOUTH DUCHESNE, UTAH 84021


Manner of Service:            DELIVERED COPY OF LEGAL DOCUMENTS TO COURT CLLERK AT THE 8th DISTRICT COURT IN DUCHESNE
                              COUNTY ON NOVEMBER 30, 2023


Documents:                    (21) DAY SUMMONS IN A CIVIL ACTION, COMPLAINT FOR DAMAGES, FOR VIOLATIONS OF CIVIL
                              CONGRESSIONAL TREATY RIGHTS AND FOR DECLARATORY INJUNCTIVE RELIEF, (Received Nov 2~. 2022 at
                              12:19 pm MSTI



Additional Comments:




                                              NOVEMBER 30, 2022
CLIFF GRIFFIS                                 Date
Professional Process Server & P.I. Agent
#G102701 (UTAH)

Night Hawk Process Service & Investigations
P.O. Box 26051
Salt Lake City, UT 84126
801-989-2976
            Case 2:21-cv-00564-CMR Document 14 Filed 12/01/22 PageID.102 Page 3 of 3


         Night Hawk Process Service & Investigations                                                                        INVOICE: 8024652
         P.O. Box 26051                                                                                                           Issued:   Nov 30, 2022
         Salt Lake City, UT 84126




         UINTA BAND UTAH INDIAN                                                           PAY TO:
         TARAJ. AMBOH                                                                     Night Hawk Process Service & Investigations
         POST OFFICE BOX 155                                                              P.O. Box 26051
         NEOLA, UT 84053                                                                  Salt Lake City, UT 84126




 Case:   Civil Action No. 2:21-cv-         Plaintiff/ Petitioner:   AMBOH,
         00564-CMR                     Defendant/ Respondent:       DUCHESNE COUNTY, TE AL,
  Job:   8024652



I item                               I Description                                                          1            Cost    Quantity         Total
I SERVICE INVOICE                    I PROCESS SERVICE FEE                                                  1      $80.00               1       $80.00



 Thanks for your business. Please pay the "Balance Due" within 14 days.                                                               Total:    $80.00
                                                                                                                                Amount Paid:    ($0.00)
                                                                                                                           Balance Due: $80.00
 PROCESS SERVICE FEE PAID IN FULL




                                Night Hawk Process Service & Investigations • P.O. Box 26051, Salt Lake City, UT 84126


                                     Call: 801-989-2976 • Fax: 385-238-4660 • Email: nighthawkprocess@gmail.com
